Case 2:04-cv-09049-DOC-RNB Document 10065 Filed 02/23/11 Page 1 of 4 Page ID
                                #:304010


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14    Attorneys for MGA Parties
15                            UNITED STATES DISTRICT COURT

16                       CENTRAL DISTRICT OF CALIFORNIA

17                                 SOUTHERN DIVISION

18    CARTER BRYANT, an individual         Case No. CV 04-9049 DOC (RNBx)
                                           Consolidated with Case No. CV 04-9059
19               Plaintiff,                and Case No. CV 05-2727
20         v.                              DECLARATION OF DIANA M.
                                           RUTOWSKI IN SUPPORT OF MGA
21    MATTEL, INC., a Delaware             PARTIES’ REPLY IN FURTHER
      corporation,                         SUPPORT OF THEIR MOTION FOR
22                                         RECONSIDERATION ON THE
                 Defendant.                COURT’S SUMMARY JUDGMENT
23                                         RULING REGARDING COPYRIGHT
                                           PREEMPTION OF THE BRATZ
24                                         DRAWINGS AND SCULPTS TRADE
      AND CONSOLIDATED ACTIONS             SECRETS, OR IN THE
25                                         ALTERNATIVE, FOR
                                           CERTIFICATION OF THE
26                                         PREEMPTION RULING FOR
                                           INTERLOCUTORY APPEAL
27
                                           Trial Date: January 18, 2011
28
                                                   DECL.OF DIANA M. RUTOWSKI ISO MGA’S REPLY ISO THEIR
                                                    MTN FOR RECONSIDERATION ON THE COURT'S SJ RULING
                                                                              CV-04-9049 DOC (RNBX)
Case 2:04-cv-09049-DOC-RNB Document 10065 Filed 02/23/11 Page 2 of 4 Page ID
                                #:304011


  1                I, Diana M. Rutowski, declare as follows:
  2         1.     I am a member of the Bar of the State of California and admitted to
  3   practice before this Court, and an attorney with the law firm of Orrick, Herrington
  4   & Sutcliffe LLP, counsel for Phase 2 to MGA Entertainment, Inc. (“MGAE”),
  5   MGA Entertainment HK, Ltd. (“MGA HK”), MGAE De Mexico, S.R.L. De C.V.
  6   (“MGAE Mexico”), and Isaac Larian (collectively, the “MGA Parties”). I make
  7   this declaration in support of MGA Parties’ Reply In Further Support Of Their
  8   Motion For Reconsideration On The Court’s Summary Judgment Ruling Regarding
  9   Copyright Preemption Of The Bratz Drawings And Sculpts Trade Secrets, Or In
10    The Alternative, For Certification Of The Preemption Ruling For Interlocutory
11    Appeal. I have personal knowledge of the facts set forth in this declaration. If
12    called as a witness, I could and would testify competently to such facts under oath.
13          2.     Attached hereto as Exhibit A is a true and correct copy of TX 432,
14    received into evidence at trial on January 19, 2011.
15          3.     Attached hereto as Exhibit B is a true and correct copy of TX 433,
16    received into evidence at trial on January 19, 2011.
17          4.     Attached hereto as Exhibit C is a true and correct copy of a picture of
18    the tangible item marked as TX 17383 (2000 Diva Starz Alexa doll).
19          5.     Attached hereto as Exhibit D is a true and correct copy of a picture of
20    the tangible item marked as TX 17384 (2000 Diva Starz Tia doll), received into
21    evidence at trial on January 19, 2011.
22          6.     Attached hereto as Exhibit E is a true and correct copy of a picture of
23    the tangible item marked as TX 35313 (2000 Diva Starz Summer doll).
24          7.     Attached hereto as Exhibit F is a true and correct copy of a picture of
25    the tangible item marked as TX 34312 (2000 Diva Starz Nikki doll).
26          8.     Attached hereto as Exhibit G is a true and correct copy of a picture of
27    the tangible item marked TX 17753 (“This Is Blythe” book), received into evidence
28    at trial on January 19, 2011.
                                                        DECL.OF DIANA M. RUTOWSKI ISO MGA’S REPLY ISO THEIR
                                               -1-       MTN FOR RECONSIDERATION ON THE COURT'S SJ RULING
                                                                                   CV-04-9049 DOC (RNBX)
Case 2:04-cv-09049-DOC-RNB Document 10065 Filed 02/23/11 Page 3 of 4 Page ID
                                #:304012


  1         9.      Attached hereto as Exhibit H is a true and correct copy of a picture of
  2   the tangible item marked TX 17758 (“Meet Sailor Moon” book), received into
  3   evidence at trial on January 19, 2011.
  4         10.     Attached hereto as Exhibit I is a true and correct copy of picture of the
  5   tangible item marked TX 17769 (Power Puff Girls DVD), received into evidence at
  6   trial on January 19, 2011.
  7         11.     Attached hereto as Exhibit J is a true and correct copy of a picture of
  8   the tangible item marked TX 23852 (Clueless Cher doll), received into evidence at
  9   trial on February 3, 2011.
10          12.     Attached hereto as Exhibit K is a true and correct copy of a picture of
11    the tangible item marked TX 24031 (Hot Looks Mimi doll), received into evidence
12    at trial on February 18, 2011.
13          13.     Attached hereto as Exhibit L is a true and correct copy of TX 34668
14    (image of Power Puff Girls).
15          14.     Attached hereto as Exhibit M is a true and correct copy of excerpts of
16    TX 35308 (1987 Mattel Catalog, Bates number M 0034949, at M 0034949-50, M
17    0034984-91).
18          15.     Attached hereto as Exhibit N is a true and correct copy of excerpts of
19    TX 35307 (1997 Mattel Catalog, Bates number M 0017845, at M 0017845-47, M
20    0017872-75).
21          16.     Attached hereto as Exhibit O is a true and correct copy of excerpts of
22    TX 35310 (1999 Mattel Catalog, Bates number M 0018298, at M 0018298-300, M
23    0018315-16).
24          17.     Attached hereto as Exhibit P is a true and correct copy of excerpts of
25    TX 35302 (2000 Mattel Catalog, Bates number M 0044269, at M 044269-71, M
26    0044358-59.
27    ///
28    ///
                                                          REPLY IN SUPPORT OF MTN. FOR RECONSIDERATION OF
                                               -2-                                           ORDER NO. 42
                                                                                   CV-04-9049 SGL (RNBX)
Case 2:04-cv-09049-DOC-RNB Document 10065 Filed 02/23/11 Page 4 of 4 Page ID
                                #:304013


  1                 I declare under penalty of perjury that the foregoing is true and correct
  2   and that this Declaration was hereby executed on February 23, 2011 at Irvine,
  3   California.
  4
                                               /s/ Diana M. Rutowski
  5                                           Diana M. Rutowski
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                                                           REPLY IN SUPPORT OF MTN. FOR RECONSIDERATION OF
                                               -3-                                            ORDER NO. 42
                                                                                    CV-04-9049 SGL (RNBX)
